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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

CESAR IBARRA,                                    )
ID # 48237-177,                                  )
             Movant,                             )    No. 3:20-CV-1811-D
vs.                                              )    No. 3:14-CR-210-D (1)
                                                 )
UNITED STATES OF AMERICA,                        )
          Respondent.                            )

                                             ORDER

       After reviewing all relevant matters of record in this case, including the findings,

conclusions, and recommendation of the United States Magistrate Judge, in accordance with 28

U.S.C. § 636(b)(1), the court is of the opinion that the findings and conclusions of the magistrate

judge are correct and they are adopted as the findings and conclusions of the court. For the

reasons stated in the findings, conclusions, and recommendation of the United States Magistrate

Judge, the amended motion to vacate, set aside, or correct sentence under 28 U.S.C. § 2255 is

denied with prejudice as barred by the statute of limitations.

       Considering the record in this case and pursuant to Fed. R. App. P. 22(b), Rule 11(a) of

the Rules Governing §§ 2254 and 2255 proceedings, and 28 U.S.C. § 2253(c), the court denies a

certificate of appealability. The court adopts and incorporates by reference the magistrate

judge’s findings, conclusions, and recommendation filed in this case in support of its finding that

the movant has failed to show (1) that reasonable jurists would find this court’s “assessment of

the constitutional claims debatable or wrong,” or (2) that reasonable jurists would find “it

debatable whether the petition states a valid claim of the denial of a constitutional right” and

“debatable whether [this court] was correct in its procedural ruling.” Slack v. McDaniel, 529

U.S.473, 484 (2000).
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   If movant files a notice of appeal,

          ( )     movant may proceed in forma pauperis on appeal.

          (X)     movant must pay the $505.00 appellate filing fee or submit a motion to

                  proceed in forma pauperis.

   SO ORDERED.

   September 15, 2020.



                                         _________________________________
                                         SIDNEY A. FITZWATER
                                         SENIOR JUDGE




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